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                        UN ITED STA TES D ISTRICT CO U RT FO R TH E
                             SO U THERN D ISTRICT OF FLO RIDA
                                       M iamiDivision

                             C ase N um ber:18-60574-ClV -M O R EN O

  RO SE CH ARLAP,

                Plaintiff,


  PN C BAN K ,N .A .,and PN C IN V ESTM EN TS,
  LLC,

                D efendant.


              ORDER CLOSING CASE FOR STATISTICAL PURPO SES AND
                   PLA C IN G M ATTER IN CIV IL SU SPEN SE FIL E

         THIS CAUSE THIS CAUSE came before the Courtupon Plaintiffs M otion to Extend

  DeadlinetoSubstitute(D.E.17),tiledonAueust3.2018.
         Given thatthe Plaintiffhaspassed away and no personalrepresentative ofthe estatehas

  been appointed,the Courtfinds itadvisable to place the cause in civilsuspense. Accordingly,it



        A DJU D G ED that:

               TheClerk ofthisCourtshallmark thiscauseasclosed forstatisticalpurposesand

        place the m atterin a civilsuspense file.

               TheCourtshallretainjurisdictionandthecaseshallberestoredtotheactive
        docketupon m otion ofa party ifcircum stanceschange so thatthis action m ay proceed to

        finaldisposition.

        111. Thisordershallnotprejudicetherightsofthepartiestothislitigation.
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        IV.    PlaintiffSHALL notify theCourtby Novem ber9.2018,and everythreemonths

        thereafterofthe currentstatus ofthe proceedings and when this action isready to

        proceed.


        D ON E A N D OR DER ED in Cham bers atM iam i,Florida,this     Y AofA ugust2018.

                                            FED ER I   .M OR EN O
                                            U N IT STA TES D ISTR ICT JUD G E

  Copiesfurnished to:

  CounselofRecord
